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                                                                                                    FILED
                                                                                         John E. Triplett, Acting Clerk
                       IN THE UNITED STATES DISTRICT COURT                                United States District Court

                                                                                     By CAsbell at 10:27 am, Oct 19, 2020
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


 RAYON D. ESAW,

                 Petitioner,                                 CIVIL ACTION NO.: 2:20-cv-106

         v.

 LINDA GETER,

                 Respondent.


                                             ORDER

       Petitioner originally filed a 28 U.S.C. § 2255 motion to vacate, set aside, or correct his

sentence in the District of Alaska, the District of his conviction. Doc. 2. After an attorney

entered an appearance in this case, counsel filed an amended motion. Doc. 8. The Alaska

District Court converted the amended motion as being a 28 U.S.C. § 2241 petition. Doc. 9. As

Petitioner is housed at the Federal Correctional Institution in Jesup, Georgia, the Alaska court

transferred the Petition to this District. Doc. 13.

       Upon the transfer of this case, the Clerk of Court neglected to send Petitioner or his

counsel a deficiency notice relating to the filing fee. Although this case was originally filed as a

§ 2255, it was transferred to this Court as a § 2241 Petition. Accordingly, a $5.00 filing fee

applies. 28 U.S.C. § 1914(a). The Court ORDERS Petitioner to either pay the requisite $5.00

fee or move to proceed in forma pauperis within 21 days of this Order. Petitioner’s failure to do

so will result in the dismissal of this cause of action for failing to follow an Order of this Court.

The Court DIRECTS the Clerk of Court to mail a blank copy of the Court’s preferred inmate-

petitioner in forma pauperis form to counsel and to Petitioner. In addition, the Court DIRECTS
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the Clerk of Court to amend the caption of this case to indicate this cause of action is a § 2241

Petition and not a part of Petitioner’s criminal proceedings.

       SO ORDERED, this 19th day of October, 2020.




                                      _____________________________________
                                      BENJAMIN W. CHEESBRO
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA




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